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 13   Attorneys for Plaintiff and the Classes
 14
                             UNITED STATES DISTRICT COURT
 15                         CENTRAL DISTRICT OF CALIFORNIA
 16
                                  WESTERN DIVISION

 17
      Edwardo Munoz, individually and on
 18   behalf of all others similarly situated,             Case No. 2:18-cv-03893-RGK-AGR

 19                                  Plaintiff,               ADDENDUM TO PLAINTIFF’S
 20          v.                                               MOTION FOR PRELIMINARY
                                                              APPROVAL OF CLASS ACTION
 21   7-Eleven, Inc., a Texas corporation,                    SETTLEMENT
 22                                     Defendant.
                                                              Judge: Hon. R. Gary Klausner
 23                                                           Courtroom: 850
 24
                                                              Complaint Filed: May 9, 2018

 25         Plaintiff Edwardo Munoz (“Plaintiff”) files this Addendum to Plaintiff’s

 26   Motion for Preliminary Approval of Class Action Settlement (dkt. 85). Attached

 27   hereto as Exhibit A is the revised Stipulation of Settlement, Settlement Agreement,

 28
                  Addendum to Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
                                                        -1-
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  1   and Proposed Notice of Class Action Settlement. (See Ex. A.) The attached Exhibit
  2   A is intended to cure the defects highlighted in the Court’s Order Re: Plaintiff’s
  3   Motion for Preliminary Approval of Class Action Settlement. (Dkt. 89.)
  4
  5                                                  Respectfully submitted,
  6
  7
      Dated: July 29, 2019                           Edwardo Munoz, individually and on behalf
                                                     of all others similarly situated,
  8
                                            By:       /s/ Patrick H. Peluso
  9                                                  One of Plaintiff’s Attorneys
 10
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                 Addendum to Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
                                                       -2-
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  1                                CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on July 29, 2019.
  5                                                  /s/ Patrick H. Peluso
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                 Addendum to Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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